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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   AMAZON.COM, INC and AMAZON                         )
   DATA SERVICES, INC.,                               )             Case No. 1:20cv484
                                                      )
                Plaintiffs,                           )          Hon. Rossie D. Alston, Jr.
                                                      )          Hon. Theresa Buchanan
   v.                                                 )
                                                      )
   WDC HOLDINGS LLC d/b/a                             )
   NORTHSTAR COMMERCIAL                               )
   PARTNERS, et al.,                                  )
                                                      )
                Defendants,
                                                      )       NOTICE OF HEARING ON
   ____________________________________               )   DEFENDANT CARLETON NELSON’S
                                                      )   EMERGENCY MOTION TO COMPEL
   800 HOYT LLC,                                      )   THE DEPOSITION OF D. MATTHEW
                                                      )              DODEN
                Intervening Interpleader Plaintiff,   )
                                                      )
   v.                                                 )
                                                      )
   BRIAN WATSON, WDC HOLDING                          )
   LLC, PLW CAPITAL I,                                )
   LLC.AMAZON.COM, INC, and                           )
   AMAZON DATA SERVICES, INC.                         )
                                                      )
                Interpleader Defendants.              )
                                                      )


            PLEASE TAKE NOTICE that on April 8, 2022, at 10:00 a.m., or as soon thereafter as the

  matter may be heard, counsel for Defendant Carleton Nelson will present argument before this

  Court on his Motion to Compel the Deposition of D. Matthew Doden.

            The parties are already to be present at this hearing time and date on two other pending

  motions. The hearing is being requested on an expedited basis due to the nature of the relief

  requested, that the next hearing date is after the time frame for which Nelson needs Mr. Doden to




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  appear for deposition, and only learning from Amazon’s counsel last night that it will not be

  producing Mr. Doden at a deposition next week.

            April 7, 2022            BURR & FORMAN LLP

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                                    CERTIFICATE OF SERVICE

            I hereby certify that on April 7, 2022, a true and correct copy of the foregoing has been

  served upon the following via email:

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            Dated: April 7, 2022                          /s/ Rachel Friedman
                                                          Rachel Friedman


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